
84 So. 3d 368 (2012)
Jimmie L. DENNIS, Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-3876.
District Court of Appeal of Florida, Fifth District.
March 9, 2012.
Jimmie L. Dennis, Lompac, Ca., pro se.
No Appearance for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So. 3d 138 (Fla. 1st DCA 2011). We certify that the same issue reviewed in this case is currently pending before the Florida Supreme Court in State v. Adkins, 71 So. 3d 117 (Fla.2011). The mandate will be withheld pending final disposition of Adkins.
GRIFFIN, PALMER and JACOBUS, JJ., concur.
